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            EXHIBIT S
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at least 30 days after the alien received the notice and before the 90th day in custody. I gather from your statements that
your concern is that the individual and/or their attorney may not know that their review will be conducted prior to the
date included on the notice. However, the notice states that the review will occur “on or about” a certain date and as
Mr. Charles stated in his deposition, if documents are submitted after the review is completed, ICE will certainly review
those documents and issue a new decision. As you know, this was done in the case of at least one individual. Regardless,
I think it is premature to bring this issue to the Court since it seems to just be an issue with the language of the notice
and what the best practice should be. As I stated above, I am happy to talk to ICE about any proposed solutions you have
to these concerns. For the specific people who had “early” reviews, I’m also happy to ask ICE to reconsider their POCR
decisions and allow their attorneys to submit more documents on their client’s behalf. I still have not received the I‐212
and I‐246 packet from Mr.              ’s attorney but I am happy to forward it along to ICE once I receive it.

With regard to the specific individuals above, I have received more information from ICE and can confirm that we do not
believe there has been a violation. I can flesh it out in an email or we can have a conversation about these individuals.

I will address your other concerns in another email or on the phone call tomorrow. Respondents have been working
diligently over the past months not only on the possibility of settlement and staying the case, but the various other
matters in this case such as discovery, reporting, motions, and compliance with the Court’s orders. Any suggestion that
Respondents are not, in good faith, working to resolve the many issues presented by this case is unfounded.

We consent to your motion to seal.

Best,
Mary



From: Sewall, Michaela P. <Michaela.Sewall@wilmerhale.com>
Sent: Thursday, July 25, 2019 12:11 PM
To: Adriana Lafaille <ALafaille@aclum.org>; Larakers, Mary L. (CIV)              V>; McCullough, Colleen
<Colleen.McCullough@wilmerhale.com>
Cc: WH ACLU MA Calderon Class Action <WHACLUMACalderonClassAction@wilmerhale.com>; MSegal@aclum.org;
Kathleen Gillespie <kathleen.m.gillespie@outlook.com>; Weiland, William H. (CIV)                  >;
Piemonte, Eve (USAMA)                                Perez, Elianis (CIV)
Subject: RE: Calderon litigation

Hi Mary,

We intend to file our motion and accompanying exhibits under seal. Please confirm that you do not oppose the motion
to seal.

Thanks,
Michaela

Michaela P. Sewall | WilmerHale
+1 617 526 6770 (t)
michaela.sewall@wilmerhale.com

From: Adriana Lafaille <ALafaille@aclum.org>
Sent: Thursday, July 25, 2019 7:53 AM
To: Sewall, Michaela P. <Michaela.Sewall@wilmerhale.com>; Larakers, Mary L. (CIV)
McCullough, Colleen <Colleen.McCullough@wilmerhale.com>
Cc: WH ACLU MA Calderon Class Action <WHACLUMACalderonClassAction@wilmerhale.com>; MSegal@aclum.org;
Kathleen Gillespie <kathleen.m.gillespie@outlook.com>; Weiland, William H. (CIV)
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purposefully targeting individuals for arrest, detention, and removal in violation of the Equal Protection Clause. These
questions were properly within the scope of the deposition.

Thanks,
Michaela

Michaela P. Sewall | WilmerHale
+1 617 526 6770 (t)
michaela.sewall@wilmerhale.com

From: Larakers, Mary L. (CIV) <
Sent: Wednesday, July 24, 2019 4:20 PM
To: Sewall, Michaela P. <Michaela.Sewall@wilmerhale.com>; McCullough, Colleen
<Colleen.McCullough@wilmerhale.com>
Cc: WH ACLU MA Calderon Class Action <WHACLUMACalderonClassAction@wilmerhale.com>; Adriana Lafaille
<ALafaille@aclum.org>; MSegal@aclum.org; Kathleen Gillespie <kathleen.m.gillespie@outlook.com>; Weiland, William
H. (CIV) <                            >; Piemonte, Eve (USAMA)                           ; Perez, Elianis (CIV)
                           >
Subject: RE: Calderon litigation

EXTERNAL SENDER


Michaela,

Although we are happy to meaningfully meet and confer about any alleged POCR violations, we do not believe that it is
proper to raise this alleged issue before the Court at this juncture, particularly because you have not yet specifically
identified, what, if any, POCR violations have occurred. Could you please send me a short description of why you
believe there has been a POCR violation for each person? Once I receive this information, I will be able to speak with
ICE about your concerns and provide you some meaningful and specific answers.

About your second question, as we indicated to you and the Court on numerous occasions with filed declarations, ICE
Boston will continue to comply with Judge Wolf’s orders. Moreover, we are not sure any expedited removal issues
impact this case, as Calderon class members already have final orders of removal that were issued at the conclusion of
their traditional removal proceedings.

Additionally, we do not agree with your characterization of our settlement discussions. As you know, during our meet
in confer prior to the March 7, 2019, report we informed you that Respondents wanted to stay settlement discussions
until the Court decided the pending motions to dismiss and for class certification. This was due in part to the parties’
impasse over settlement terms that would necessarily be informed by decisions on these motions. We then informed
the Court of this development. ECF No. 221. On May 16th, the Court issued a decision on these motions and
Respondents have been considering the effect of these decisions on possible settlement. Thus, any suggestion that
Respondents have not been engaging on settlement discussions for over 5 months is just wrong. Regarding the
substance of settlement, many of your proposals (1) go beyond the relief that Respondents believe this Court has
indicated it will issue and (2) go beyond what ICE Boston is currently doing right now to comply with the Court’s orders.
As such, Respondents will not agree to settle under Petitioner’s proposed terms. That being said, we are available to
meet and confer at 3:00 on Friday concerning our positions relevant to the joint report due on the 30th.

Moreover, Respondents do not believe that they are obligated to provide you with privileged documents Mr. Charles
reviewed ahead of his deposition. However, where documents used to prepare are not privileged, you will receive
many, if not all, of those documents in the discovery we have agreed to provide you.

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Finally, we will also like to meet and confer about your failure to abide to the topics listed in your 30(b)(6) notice. As we
already made clear to you during the deposition, you asked questions beyond the scope of the topics that the witness
was asked to testify, particularly by asking unreasonably specific personal questions beyond the expected scope of Rule
30( b)(6).

Regards,
Mary



From: Sewall, Michaela P. <Michaela.Sewall@wilmerhale.com>
Sent: Tuesday, July 23, 2019 3:25 PM
To: Larakers, Mary L. (CIV)                            ; McCullough, Colleen <Colleen.McCullough@wilmerhale.com>
Cc: WH ACLU MA Calderon Class Action <WHACLUMACalderonClassAction@wilmerhale.com>; Adriana Lafaille
<ALafaille@aclum.org>; MSegal@aclum.org; Kathleen Gillespie <kathleen.m.gillespie@outlook.com>; Weiland, William
H. (CIV) <                          >; Piemonte, Eve (USAMA)                           >
Subject: Calderon litigation

Hi Mary,

I’m writing to touch base on a number of issues:

First, it appears from the detention reports we have received that ICE has committed POCR violations with respect to at
least Mr.           , Mr.       , Mr.         , Mr.       , Mr.         and Mr.      . When we asked Mr. Charles about
these individuals, and the reasons that their POCR reviews were conducted early and/or that they did not timely
receive 180‐day reviews, he did not recall any of the specifics of their cases and could not say that a POCR violation had
not occurred. See Tr. pp. 271‐320. As such, we intend to file tomorrow a Motion for Order to Show Cause why the
court should not order these individuals’ release. Please let us know if you oppose the motion. Please also confirm
that ICE will not deport these individuals while this issue is pending. To the extent that ICE has already removed an
individual, please let us know who.

Second, there have been several news reports about the government’s plans to vastly expand its expedited removal
authority and affording individuals with minimal (if any) due process. Please confirm that ICE Boston will not undertake
these procedures for Calderon class members.

Third, are you available on Friday at 3pm to meet and confer before our July 30 status report? The judge has again
ordered us to consider settlement as well as a potential stay of the litigation. We submitted our settlement proposal to
you more than five months ago and have not received any response. The government’s lack of response is particularly
troubling in light of Mr. Charles’ testimony that he has never discussed the possibility of settlement of this
litigation. See Tr. at 325 (“There’s been no reason for me to discuss anything with headquarters on the settlement of
this case because it hasn’t gone to – we haven’t discussed settlement.”). Please confirm whether you are available, and
please also confirm that you will be prepared to have a substantive discussion on settlement and/or stay.

Fourth, pursuant to the request I sent in my email dated July 17, please immediately produce each document that Mr.
Charles reviewed in preparation for his deposition.

Thanks,
Michaela

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